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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                           For Online Publication Only
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 ANTHONY TANZA, MICHAEL S. BOSMAN,
 et al., on behalf of themselves and all
 others similarly situated,

                             Plaintiffs,                               ORDER
                                                                       15-CV-4394 (JMA) (AYS)
                                                                       17-CV-3185 (JMA) (AYS)
                    -against-

 GARDA CL ATLANTIC, INC.,

                               Defendant.
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 AZRACK, United States District Judge:

          In an order dated January 19, 2024 (“Jan. 19 Order”), the Court preliminarily approved the

 Class Settlement, Class Notice, and Claim Form. (ECF No. 162.) The Jan. 19 Order was based

 on a proposed order submitted by the parties. No one objected to the proposed order, which the

 Court adopted with certain modifications.

          In the Jan. 19 Order, the Court directed that motions for attorney’s fees be submitted within

 14 days and directed that any responses by filed within 21 days. This briefing schedule comported

 with Federal Rule of Civil Procedure 23 and this Court’s routine practice of requiring Class

 Counsel to file their motion for attorney’s fees before the Class Notice. The briefing schedule set

 by the Court included a response deadline given the unusual circumstances surrounding attorney

 Neil Frank and the fact that it was not clear what position Garda would take on Frank’s fee

 application. The Court has always ruled on motions for attorney’s fees in conjunction with the

 Plaintiffs’ motion for final approval, which can only be filed after the objection/opt-out deadline

 has passed. In the Jan. 19 Order, the Court scheduled a final fairness hearing for May 14, 2024

 that accounted for the time necessary for the mailing of the notice and the 60-day objection/opt-



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 out period. As such, the Court assumed that the Class Notice would be promptly mailed and that

 the Court would decide the attorney’s fees motion in conjunction with the Plaintiffs’ motion for

 final approval after the class notice had been mailed and the 60-day objection/opt-out period had

 elapsed. (See Jan. 19 2024 Order ¶ 8 (“The Court orders that the Settlement Administrator send

 the Notice as set forth in the Agreement to the members of the Class.”).)

         As Class Counsel’s letter to the Court indicates, (ECF No. 171) the parties apparently

 envisioned a different process based on one sentence in the Jan. 19 Order (and the original

 proposed order) stating that “No deadlines shall run under the Agreement until the issue of fees

 and costs are resolved by the Court.” Considering this confusion, the Court adjourned the final

 fairness hearing since, as of May 10, 2024, the Class Notice had not yet been mailed to the Class.

         After the Jan. 19 Order, attorney Steven Moser filed a letter dated April 1, 2024 purportedly

 on behalf of Sara Cioffi. (ECF No. 169.) Moser’s letter is styled as an opposition to Neil Frank’s

 application for attorney fees. 1

         Moser’s April 1, 2024 letter is procedurally defective because Moser never filed a notice

 of appearance of behalf of Sara Cioffi. Accordingly, the Court strikes this letter and refuses to

 consider it.

         Nevertheless, this class action has been pending for a long time and the Court wishes to

 expedite the resolution of the class settlement. Therefore, in an effort to avoid any further potential

 litigation, the Court recommends that Garda narrow the release in the Class Settlement, Class

 Notice, and Claim Form so that it no longer covers wage-and-hour claims. Garda shall inform the

 Court by April 29, 2025 whether it will consent to this amendment.




 1
  Counsel for Neil Frank filed a response dated April 5, 2024. (ECF No. 170.) It is not clear if Class Counsel, Scott
 Mishkin—who did not file a separate response—joined in that April 5, 2024 response. Garda did not file a response.

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 SO ORDERED.

 Dated: April 21, 2025
 Central Islip, New York
                                                    /s/ (JMA)
                                            JOAN M. AZRACK
                                            UNITED STATES DISTRICT JUDGE




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